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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                         September 26, 2017
                IN THE UNITED STATES DISTRICT COURT
                                                                          David J. Bradley, Clerk
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

SIGMA DEVELOPMENT CORP.,                 §
    Plaintiff,                           §
                                         §
v.                                       §            CIVIL ACTION NO. H-16-2555
                                         §
TGP SECURITIES, INC., et al.,            §
     Defendants.                         §

                    CONDITIONAL DISMISSAL ORDER

      Having been informed that the parties resolved their dispute during mediation

with Magistrate Judge Dena Palermo, it is hereby

      ORDERED that this case is DISMISSED without prejudice to reinstatement

of Plaintiff’s claims if any party represents to the Court on or before November 27,

2017, that the settlement could not be completely documented.

      SIGNED at Houston, Texas, this 26th day of September, 2017.




                                                 NAN Y F. ATLAS
                                        SENIOR UNI   STATES DISTRICT JUDGE




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